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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


LARRY SEVENSKI,

         Plaintiff,                           Case No. 1:18−cv−01204−JTN−ESC

   v.                                         Hon. Janet T. Neff

BROCK ARTFITCH,

         Defendant.
                                       /

                 NOTICE REGARDING ASSIGNMENT OF CASE
       NOTICE is hereby given that the above−captioned case was filed in
this court on October 26, 2018 . The case has been assigned to Janet T.
Neff .



                                           CLERK OF COURT

Dated: October 29, 2018          By:        /s/ C. Wenners
                                           Deputy Clerk
